






NO. 07-01-0377-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 17, 2001



______________________________




IN RE TRINITY UNIVERSAL INSURANCE COMPANY, RELATOR




_________________________________




ORDER



_______________________________




Before BOYD, C.J., and REAVIS and JOHNSON, JJ.



	Pending before this Court is a petition for writ of mandamus filed by Trinity Universal
Insurance Company, relator, and a motion for emergency stay.  By its motion, relator
requests that the trial of the underlying action now set for September 24, 2001, be stayed
pending disposition by this Court of its petition for writ of mandamus filed September 17,
2001.  Because the Certificate of Compliance required by Rule 52.10(a) of the Texas
Rules of Appellate Procedure does not certify to this Court that relator has complied with
the rule, the motion is dismissed without prejudice to the refiling of a second motion.

	Counsel for real party in interest in the underlying action, entitled Lilith Brainard,
Sally Brainard Wicker, E. Swasey F. Brainard, II, Amy Brainard, Berklee Brainard
Clements, Sena Brainard, and the Estate of Edward H. Brainard, II, v. Premier Well
Service, Inc., cause number 31,677,  31st Judicial District Court, Gray County, is requested
to file a response to the petition for writ of mandamus pursuant to Rule 52.4 of the Texas
Rules of Appellate Procedure on or before October 1, 2001.

	It is so ordered.

							Per Curiam

Do not publish.

 



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NO. 07-10-00071-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



JUNE
11, 2010

&nbsp;



&nbsp;

CITY OF LUBBOCK, APPELLANT

&nbsp;

v.

&nbsp;

LARRY ACKERS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 72ND DISTRICT COURT OF LUBBOCK
COUNTY;

&nbsp;

NO. 2006-533,594; HONORABLE RUBEN GONZALES REYES, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Appellant,
City of Lubbock, appeals from a Final Judgment declaring a practice of the City
to be unconstitutional and void, finding that the City took appellees, Larry Ackers, property in violation of
the Texas Constitution, and awarding Ackers $116,000 in attorneys fees.&nbsp; While the trial of this cause was duly
recorded by the Official Court Reporter for the 72nd District Court
of Lubbock County, the reporter has attested that, due to a computer
malfunction, a large portion of the transcript of the trial has been lost.&nbsp; According to Texas Rule of Appellate
Procedure 34.6(f), an appellant is entitled to a new trial if (1) the appellant
has timely requested a reporters record, (2) without the appellant's fault, a
significant portion of the recording has been lost or destroyed or is
inaudible, (3) the lost, destroyed, or inaudible portion of the record is
necessary to the appeal's resolution, and (4) the parties cannot agree on a
replacement for the lost, destroyed, or inaudible portion of the reporter's
record.&nbsp; See Tex. R. App. P. 34.6(f).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
June 2, 2010, this Court informed the parties of the affidavit received from
the official court reporter and directed appellant to certify whether the lost
or destroyed portion of the reporters record is necessary to the appeals
resolution and whether the parties have been able to reach an agreement
concerning a replacement for the lost or destroyed portion of the reporters
record.&nbsp; In response, the City filed a
Motion to Remand for New Trial in which it certifies that the lost portions of
the reporters record are necessary to the appeals resolution and that the
parties are unable to agree on a complete reporters record.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
view of the circumstances present in this case, we conclude that the elements
of Rule 34.6(f) exist at bar.&nbsp;
Consequently, we grant the Citys motion, reverse the judgment, and
remand the cause for a new trial.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Mackey
K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

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